   Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 1 of 12 PageID #:125




                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JEANNETTE SOTO,                                    )
                                                   )
       Plaintiff,                                  ) Case No.: 18-CV-4337
                                                   )
       vs.                                         ) JUDGE JOHN Z. LEE
                                                   )
KAREN YARBROUGH, in her Individual                 ) MAGISTRATE MARY M. ROWLAND
Capacity, ERWIN ACOX, JR., in his                  )
Individual Capacity, COOK COUNTY                   )
RECORDER OF DEEDS OFFICE,                          )
and COOK COUNTY,                                   )
                                                   )
       Defendants.                                 )

        PLAINTIFF’S RESPONSE TO DEFENDANT KAREN YARBROUGH’S
        MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT

       NOW COMES the Plaintiff, by and through her attorneys, ED FOX & ASSOCIATES,

LTD., and in support of her opposition to Defendants’ Motion to Dismiss Plaintiff’s Amended

Complaint states as follows:

                                     I.     BACKGROUND

       On October 12, 2018, Plaintiff filed her First Amended Complaint against Defendants

Karen Yarbrough (“Yarbrough”), Erwin Acox, Jr. (“Acox”), Cook County Recorder of Deeds

Office (“Recorder’s Office”) and Cook County (“County”) (collectively, the “Defendants”)

alleging violations of Section 1983 and the Shakman Decrees (“First Amended Complaint”). D.E.

#18. Defendant Yarbrough filed her Motion to Dismiss Plaintiff’s First Amended Complaint on

December 28, 2018. (“Defendant’s Motion”) D.E. #34.

       Defendant’s Motion asserts that Plaintiff’s allegations against Yarbrough are conclusory

and that Plaintiff fails to allege that she engaged in speech as a citizen on a matter of public

concern. Both assertions are not supported. Plaintiff has alleged sufficient facts to show

                                               1
       Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 2 of 12 PageID #:126




Yarbrough’s personal involvement in the pretextual employment actions taken against Plaintiff,

separate and apart from Acox’s involvement. None of these alleged facts are conclusory; rather,

they allege specific details to establish a cause of action against Yarbrough. Plaintiff has further

alleged facts to establish that she complained about political discrimination. Plaintiff made these

complaints outside of her job duties because she was complaining about political discrimination

to an outside agency empowered to monitor political discrimination. Therefore, this Honorable

Court should deny the Defendant’s Motion.

               II.      RELEVANT FACTS ALLEGED IN PLAINTIFF’S COMPLAINT

           Plaintiff began working as the Director of Human Resources in the Recorder’s Office on

October 31, 2016. (¶12)1. At all times relevant, Yarbrough was the Cook County Recorder of

Deeds. (¶8). Acox was the Chief of Human Resources for the Cook County Recorder of Deeds.

(¶9). Plaintiff is not politically affiliated with Yarbrough. Yarbrough was aware that Plaintiff was

not politically affiliated with her. (¶13).

           In February 2017, Plaintiff began monitoring employee time and attendance as part of her

duties. (¶14). Plaintiff submitted an incident report to Acox informing him that Linda Tyson, an

employee politically connected to Yarbrough, was repeatedly tardy and violated the Recorder

Office’s time and attendance policy. (¶15).

           On March 17, 2017, Plaintiff met with Acox to discuss her 90-day evaluation. (¶18).

Plaintiff disagreed with her 90-day evaluation. (¶19). Plaintiff’s 30 and 60-day evaluations were

significantly better than her 90-day evaluation. (¶19). The negative evaluation provided to Plaintiff

was false. (¶20). At all times, Plaintiff met her employer’s legitimate employment expectations.

(¶20). Shortly after her 90-day evaluation, on or about March 20, 2017, Plaintiff complained to



1
    All citations to ¶ refer to the numbered paragraphs of Plaintiff’s First Amended Complaint (D.E. #18).

                                                            2
    Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 3 of 12 PageID #:127




Recorder’s Compliance Director (“RCA”), Matthew Pryor (“Pryor”), that she believed she

received a negative 90-day evaluation due to unlawful political discrimination based upon her lack

of political affiliation with Yarborough. (¶21).

       In mid and late-March 2017, Plaintiff was asked to assist with the hiring process for a new

Director of Compliance (“DOC”) in the Recorder’s Office. (¶22). On March 23, 2017, Yarbrough

selected an individual named Kevin Thomas (“Thomas”) to be the DOC. (¶28). Thomas was an

individual personally known by Acox. (¶28). Thomas was the second ranked person on Plaintiff’s

completed candidate rankings. (¶28). Since Thomas was not the first ranked candidate, Yarbrough

had to complete a statement explaining why she did not select the first ranked candidate. (¶28).

       Plaintiff informed Acox that Thomas was selected for the DOC position. (¶29). Plaintiff

informed Acox that she still had to receive Yarbrough’s explanation letter for why Thomas was

selected over the first ranked candidate for the DOC position. (¶29). Acox then asked Plaintiff to

give him the interview materials for Thomas and the other candidates. (¶29). Plaintiff told Acox,

“I thought you recused yourself from the [interview] process.” (¶29). On March 23, 2017, Plaintiff

spoke with Pryor regarding the selection of Thomas. (¶30). Pryor informed Plaintiff that it was not

proper for Acox to be involved in the selection of Thomas. (¶30).

       On March 24, 2017, Yarbrough terminated the Plaintiff’s employment. (¶32). Yarbrough

retaliated against Plaintiff for recommending discipline for a politically connected employee,

making complaints to the RCA, and participating in an investigation of political discrimination

when she knowingly, willfully or recklessly terminated Plaintiff’s employment. (¶34). Yarborough

further discriminated against Plaintiff based on politics when she terminated her employment due

to her failure to politically support Yarborough. (¶34).




                                                   3
    Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 4 of 12 PageID #:128




       Plaintiff engaged in the exercise of her rights under the First Amendment when he

remained politically neutral to Yarbrough and not politically affiliated with her. (¶40). At the time

of Plaintiff’s termination, the director of human resources position was not a position exempt from

protections against politically based employment decisions. (¶41). Yarbrough deprived Plaintiff

of her right to enjoy her employment free from political interference. (¶42).

       Yarbrough denied Plaintiff her rights under the First and Fourteenth Amendment when she

falsely evaluated and terminated the Plaintiff based upon political reasons or factors, including her

lack of affiliation with Yarbrough. (¶43). Yarbrough terminated the Plaintiff so that she could hire

someone politically affiliated into the DOC position. (¶43). Yarbrough retaliated against Plaintiff

for exercising her right to complain of political discrimination under the First Amendment when

she terminated her employment after Plaintiff complained to the RCA of political discrimination

on several occasions, including on March 20, 2017 and March 23, 2017, and participated in

investigations relating to potential political discrimination. (¶46).

       On August 8, 2018, the Office of the Independent Inspector General (“OIIG”) issued a

finding that “…the evidence demonstrates that impermissible political factors were considered

with respect to the employment decision to terminate Ms. Soto….”. (¶35).

                                  III.    STANDARD OF REVIEW

       A complaint does not have to set forth all relevant facts or recite the law. The Federal Rules

of Civil Procedure only require that a complaint contain “a short and plain statement of the claim

showing the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2); Doherty v. City of Chicago, 75

F.3d 318, 322 (7th Cir. 1996). “[A] complaint attacked by a Rule 12(b)(6) motion to dismiss does

not need detailed factual allegations” but must contain “enough facts to state a claim for relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A complaint must



                                                  4
    Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 5 of 12 PageID #:129




describe the claim in sufficient detail to give the defendant fair notice of what the claim is and the

grounds upon which it rests, and it must plausibly suggest, above a “speculative level,” that the

plaintiff has a right to relief. Id. A claim is plausible when the alleged facts allow the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged. Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009).

       In reviewing a motion to dismiss under Rule 12(b)(6), the court must accept all well-

pleaded factual allegations as true and draw all reasonable inferences in favor of the plaintiff.

McMillan v. Collection Pof’ls, Inc., 455 F.3d 754, 758 (7th Cir. 2006). The purpose of a motion

to dismiss is to test the sufficiency of the complaint, not to decide the merits. Gibson v. Chicago,

910 F.2d 1510, 1520 (7th Cir. 1990). “Instead of lavishing attention on the complaint until the

plaintiff gets it just right, a district court should keep the case moving.” Bennett v. Schmidt, 153

F.3d 516, 518 (7th Cir. 1998).

                                          IV.     ARGUMENT

       Hiring, firing, or transferring government employees based on political motivation violates

the First Amendment. Hall v. Babb, 389 F.3d 758, 762 (7th Cir.2004); see also Rutan v. Republican

Party of Ill., 497 U.S. 62, 64, 110 S.Ct. 2729, 111 L.Ed.2d 52 (1990). To establish a prima facie

case of political discrimination, Plaintiff must show: (1) that her conduct was constitutionally

protected; (2) that he suffered an actionable deprivation; and (3) that the protected conduct was a

but-for cause of the adverse employment action. See Gunville v. Walker, 583 F.3d 979, 984, n. 1

(7th Cir. 2009). “It is undisputed that political nonaffiliation is a right protected under the first

amendment.” Hermes v. Hein, 742 F.2d 350, 354 n. 3 (7th Cir. 1984) (citing Elrod v. Burns, 427

U.S. 347, 96 S.Ct. 2673, 49 L.Ed.2d 547 (1976)).




                                                   5
    Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 6 of 12 PageID #:130




       Defendant argues that the allegations against Yarbrough in Plaintiff’s First Amended

Complaint are conclusory. This is not true. Plaintiff’s Amended Complaint contains specific

factual allegations showing that Yarbrough discriminated against Plaintiff based on illegal political

discrimination. Thus, Defendant’s Motion should be denied.

       I.      PLAINTIFF HAS ASSERTED ENOUGH FACTS TO BRING A CAUSE OF
               ACTION UNDER SECTION 1983 AGAINST YARBROUGH

       Yarbrough argues that Plaintiff’s First Amended Complaint is conclusory because

“Plaintiff only alleges that Yarbrough approved Acox’s recommendation to terminate her

employment.” Defendant’s Memorandum of Law, Dkt #34, pg. 3. Defendant further claims that

Plaintiff has not asserted any facts to support her allegation that Yarbrough was motivated by

illegal political discrimination or retaliation, or that she knew about Acox’s illegal political

purposes. Id. Neither of these arguments are supported.

       Plaintiff never asserts in his complaint that Yarbrough merely “approved” Acox’s

recommendation to terminate Plaintiff’s employment. Rather, Plaintiff alleges that Yarbrough

personally terminated Plaintiff. (¶¶32, 43, 46). Plaintiff further alleges numerous facts about

Yarbrough’s involvement, including her awareness of Plaintiff’s non-affiliation with her, her

selection of the new Director of Compliance for potentially political reasons, and her awareness

of Plaintiff’s complaints of political discrimination. (¶¶13, 28, 34). Plaintiff directly alleges that

Yarbrough discriminated against Plaintiff based on politics when she terminated her employment

due to her failure to politically support Yarborough. (¶43). She further alleges that Yarbrough

retaliated against her for recommending discipline for a politically connected employee, making

complaints to the RCA, and participating in an investigation of political discrimination. (¶46).

       Plaintiff’s allegations are not conclusory because she does not merely recite the elements

of a claim of political discrimination or retaliation. There is nothing conclusory or speculative

                                                  6
    Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 7 of 12 PageID #:131




about Plaintiff’s allegations that Yarbrough took negative employment actions against the

Plaintiff. Plaintiff supports each of these allegations with facts outlining how Plaintiff disciplined

a Yarbrough political appointee, how Yarbrough attempted to hire her own Director of

Compliance, and how Plaintiff’s complaints to the RCA led to her termination. Plaintiff’s

allegations are also based, in part, on the OIIG’s determination “…the evidence demonstrates that

impermissible political factors were considered with respect to the employment decision to

terminate Ms. Soto.” (¶35).

       A complaint is plausible if it contains facts that “raise a reasonable expectation that

discovery will reveal evidence.” Brooks v. Ross, 578 F.3d 574, 581 (7th Cir. 2009)

(quoting Twombly, 550 U.S. at 556). Plaintiff has alleged more than enough facts to establish a

plausible claim against Yarbrough. Plaintiff has alleged that Yarbrough was directly responsible

for each of the negative employment actions taken against Plaintiff by “knowingly, willfully or

recklessly causing” those actions, or failing to act to prevent those actions. See McPhaul v. Board

of Com'rs of Madison County, 226 F.3d 558, 566 (7th Cir. 2000). The OIIG’s finding in Plaintiff’s

favor shows that these allegations are more than plausible.

       Plaintiff’s “pleading burden should be commensurate with the amount of information

available to her.” Bausch v. Stryker Corp., 630 F.3d 546, 561 (citation and internal quotation marks

omitted). The fact that Plaintiff pleads more allegations against Acox than Yarbrough does not

imply in any sense that these allegations are not plausible. Rather, those allegations are based upon

the amount of information available to Plaintiff at this time. “When there are well-pleaded factual

allegations, a court should assume their veracity and then determine whether they plausibly give

rise to an entitlement to relief.” Iqbal, 556 U.S. at 679. Thus, Plaintiff’s allegations, if taken as

true, meet the requirements of Twombly and Iqbal and Defendants’ Motion should be denied.



                                                  7
       Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 8 of 12 PageID #:132




III.      PLAINTIFF PROPERLY ALLEGED THAT SHE ENGAGED IN SPEECH AS A
          CITIZEN ON A MATTER OF PUBLIC CONCERN

          Count II of Plaintiff’s First Amended Complaint alleges that Yarbrough retaliated against

Plaintiff for exercising her right to complaint of political discrimination under the First

Amendment when she terminated Plaintiff’s employment after Plaintiff complained to the RCA

about political discrimination and participated in investigations related to political discrimination.

(¶46).

          Defendant argues that Plaintiff’s claims against Yarbrough must be dismissed because

Plaintiff’s complaints were made in the course of her job duties on matters of personal, rather than

public, concern. D.E #34, pg. 4. Defendant states that Plaintiff complained about Acox’s

supervision. Id. However, this does not accurately describe the nature of Plaintiff’s complaints.

Plaintiff’s complaints were not based on internal workplace disputes. Rather, they involved

political favoritism and discrimination by public employees. Plaintiff complained to the RCA that

she faced political discrimination because of her lack of political affiliation with Yarbrough. (¶21).

Several days later, Plaintiff complained to the RCA again about improper political influence in the

hiring process for the DOC position, which led to Acox’s removal from the Director of HR position

one day before Plaintiff’s termination. (¶30)

          When Plaintiff complained to the RCA, she did not make these complaints as part of her

job duties. An employee such as Plaintiff is not speaking pursuant to her official duties when she

“reports misconduct outside established channels” or reports something for which she did not have

any formal responsibilities. Spalding v. City of Chicago, 186 F. Supp. 3d 884, 904 (N.D. Ill.

2016); see also Rose v. Haney, No. 16 CV 5088, 2017 WL 1833188, at *5 (N.D. Ill. May 8, 2017).

Plaintiff had no formal responsibilities to report to the RCA—a separate and independent body

that monitors political corruption. See Kristofek v. Vill. of Orland Hills, 832 F.3d 785, 793 (7th

                                                  8
    Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 9 of 12 PageID #:133




Cir. 2016) (“[W]e must be especially careful in concluding that employees have spoken pursuant

to their official duties when the speech concerns allegations of public corruption.”). Further, while

Plaintiff’s initial complaint did involve her evaluation, courts have repeatedly observed that

although “a statement born of pure personal interest does not constitute a public concern, a mere

personal aspect of the speaker’s motivation will not defeat the entire speech.” Miller, 444 F.3d at

937; cf. Marshall v. Porter Cnty. Plan Comm'n, 32 F.3d 1215, 1219 (7th Cir. 1994) (observing

that “[i]t is often the case that those who speak out are also involved in personal disputes with

employers and other employees”). Thus, Plaintiff’s complaints regarding discrimination made to

the RCA regarding politically connected employees in the Recorder’s Office clearly do not fall

under her regular job duties.

       Plaintiff’s complaint also involved matters of a public concern. The Supreme Court has

defined “public concern” to mean “legitimate news interest,” or “a subject of general interest and

of value and concern to the public at the time of publication.” Meade v. Moraine Valley Cmty.

Coll., 770 F.3d 680, 684 (7th Cir. 2014) (quoting City of San Diego v. Roe, 543 U.S. 77, 83-84

(2004)). “Whether an employee’s speech addresses a matter of public concern must be determined

by the content, form, and context of a given statement[.]” Connick v. Myers, 461 U.S. 138, 147-48

(1983). The content of Plaintiff’s complaints to the RCA—that she was given a false evaluation

because she was not politically connected to Yarbrough and that the hiring process for the DOC

involved political favoritism—clearly involved a matter of public concern. See, e.g., Miller v.

Jones, 444 F.3d 929, 936 (7th Cir. 2006) (“Our cases have consistently held that speech alleging

government malfeasance addresses matters of public concern in its substance.”); cf. Garcetti, 547

U.S. at 425, 126 S.Ct. 1951. The RCA issues public reports to the Federal Court overseeing the

Shakman case against the Recorder’s Office. The public has a right to know if politics are being



                                                 9
   Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 10 of 12 PageID #:134




improperly used in disciplinary and hiring decisions made within a publicly elected office that us

under a consent decree. Accordingly, Plaintiff’s claims against Yarbrough in her First Amended

Complaint should not be dismissed.

                                          CONCLUSION

       For the reasons stated above, Plaintiff submits that Defendant Yarbrough’s Motion to

Dismiss should be denied in its entirety. However, if the Court should grant Defendant’s Motion,

Plaintiff requests that the Court do so without prejudice and grant Plaintiff leave to file an amended

complaint consistent with the Court’s findings.

                                                       Respectfully submitted,

                                                       s/ Jonathan R. Ksiazek
                                                       Attorney for Plaintiff

                                                       Jonathan R. Ksiazek
                                                       ED FOX & ASSOCIATES, LTD.
                                                       Attorneys for Plaintiff
                                                       300 West Adams, Suite 330
                                                       Chicago, Illinois 60606
                                                       jksiazek@efoxlaw.com




                                                  10
   Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 11 of 12 PageID #:135




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JEANNETTE SOTO,                                      )
                                                     )
         Plaintiff,                                  ) Case No.: 18-CV-4337
                                                     )
         vs.                                         ) JUDGE JOHN Z. LEE
                                                     )
KAREN YARBROUGH, in her Individual                   ) MAGISTRATE MARY M. ROWLAND
Capacity, ERWIN ACOX, JR., in his                    )
Individual Capacity, COOK COUNTY                     )
RECORDER OF DEEDS OFFICE,                            )
and COOK COUNTY,                                     )
                                                     )
         Defendants.                                 )

                                      NOTICE OF FILING

   To:           Timothy L. Swabb
                 Assistant State’s Attorney
                 Civil Actions Bureau – Labor & Employment Litigation
                 Cook County State's Attorney's Office
                 500 Richard J. Daley Center
                 Chicago, IL 60602

                 Miguel Larios
                 Assistant State’s Attorney
                 Conflicts Counsel Unit
                 Cook County State's Attorney's Office
                 69 West Washington, Ste. 2030
                 Chicago, IL 60602

        PLEASE TAKE NOTICE that on January 28, 2019, the undersigned filed with the Clerk of
this Court, PLAINTIFF’S RESPONSE TO DEFENDANT KAREN YARBROUGH’S
MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT, service of which
is being made upon you.

                                                     s/ Jonathan R. Ksiazek
                                                     Jonathan R. Ksiazek
                                                     ED FOX & ASSOCIATES
                                                     Attorneys for Plaintiff
                                                     300 West Adams, Suite 330
                                                     Chicago, Illinois 60606
                                                     (312) 345-8877

                                                11
   Case: 1:18-cv-04337 Document #: 41 Filed: 01/28/19 Page 12 of 12 PageID #:136




                                      PROOF OF SERVICE

        I, Jonathan R. Ksiazek, an attorney, under penalty of perjury, state that on January 28, 2019
service is being made in accordance with the General Order on Electronic Case Filing section XI.

                                                      s/ Jonathan R. Ksiazek
                                                      Jonathan R. Ksiazek




                                                 12
